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   NS:TH/KMT
   F. #2017R01840

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - -X

   UNITED STATES OF AMERICA

                    - against -                             Docket No. 18-CR-204 (S-2) (NGG)

   KEITH RANIERE,

                               Defendant.

   - - - - - - - - - - - - - - - - - - - - - - - - - -X




                  MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
                 KEITH RANIERE’S MOTION FOR A NEW TRIAL PURSUANT TO
                        FEDERAL RULE OF CRIMINAL PROCEDURE 33



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                                   PRELIMINARY STATEMENT

                  The government respectfully submits this memorandum of law in opposition

   to the defendant Keith Raniere’s second motion for a new trial pursuant to Federal Rule of

   Criminal Procedure 33, filed on October 19, 2020. ECF Docket No. 956. Raniere claims

   that “newly discovered evidence” relating to the government’s alleged intimidation of two

   individuals—Michele Hatchette and Nicole Clyne—warrants a new trial. Raniere claims that

   the government’s intimidation prevented Hatchette and Clyne from testifying as defense

   witnesses at trial, thereby denying his right to present witnesses in his defense.

                  For the reasons set forth below, the government submits that Raniere’s Rule

   33 motion should be summarily denied because it is untimely and meritless.

                                            ARGUMENT

          I.      Applicable Law

                  Rule 33 provides that, “[u]pon the defendant’s motion, the court may vacate

   any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P.

   33(a). The Rule further provides that a motion for a new trial must be filed “within 14 days

   after the verdict or finding of guilty” unless it is “grounded on newly discovered evidence.” 1

   Fed. R. Crim. P. 33(b). Where a motion is based on “newly discovered evidence,” it must be

   filed within three years of the verdict. Fed. R. Crim. P. 33(b)(1).

                  A motion for a new trial based on “newly discovered evidence” may be

   granted “only upon a showing that the evidence could not with due diligence have been

   discovered before or during trial, that the evidence is material, not cumulative, and that



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                  The Court extended the deadline for post-trial motions to July 10, 2019.
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   admission of the evidence would probably lead to an acquittal.” United States v. Owen, 500

   F.3d 83, 87 (2d Cir. 2007) (quoting United States v. Alessi, 638 F.2d 466, 479 (2d Cir.

   1980)). Evidence “that was known by the defendant prior to trial, but became newly

   available after trial,” does not qualify as new evidence that may provide the basis for a Rule

   33 motion. Owen, 500 F.3d at 89. “[W]here . . . a defendant knew or should have known[]

   that his codefendant could offer material testimony as to the defendant’s role in the charged

   crime, the defendant cannot claim that he ‘discovered’ that evidence only after trial.” Id. at

   91; see also United States v. Forbes, 790 F.3d 403, 408 (2d Cir. 2015) (“[W]e hold that

   evidence is excluded from the meaning of ‘newly discovered’ under Rule 33 where (1) the

   defendant was aware of the evidence before or during trial, and (2) there was a legal basis for

   the unavailability of the evidence at trial, such as the assertion of a valid privilege.”)

   (emphasis in original); United States v. Muja, 365 Fed. App’x 245, 246 (2d Cir. 2010)

   (summary order) (affirming denial of motion for new trial on the basis of affidavit submitted

   by co-conspirator about when the co-conspirator first met the defendant, which contradicted

   a trial witness’s testimony, on the grounds that the defendant had the same awareness as the

   co-conspirator about when the co-conspirator and the defendant first met and thus the facts in

   the affidavit were not “newly discovered” under Owen).

                  In light of the deference owed to a jury’s verdict, the Second Circuit has

   cautioned that district courts should exercise their Rule 33 authority only “‘sparingly’ and in

   ‘the most extraordinary circumstances.’” United States v. Ferguson, 246 F.3d 129, 134 (2d

   Cir. 2001) (quoting United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992)). “For a

   district court to grant a Rule 33 motion, he must harbor a real concern that an innocent

   person may have been convicted.” United States v. James, 712 F.3d 79, 107 (2d Cir. 2013)

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   (internal quotation marks omitted) (affirming district court’s denial of Rule 33 motion in

   light of “newly discovered evidence”).

                 Where, as here, a defendant claims that the prosecution intimidated potential

   defense witnesses from testifying for the defense, the defendant bears the burden of

   demonstrating “materiality, bad faith, and lack of fundamental fairness.” Buie v. Sullivan,

   923 F.2d 10, 12 (2d Cir. 1990). First, the defendant must show that “he was deprived of

   material and exculpatory evidence that could not be reasonably obtained by other means.”

   United States v. Williams, 205 F.3d 23, 29-30 (2d Cir. 2000); see also Buie, 923 F.2d at 12

   (defendant must be “totally deprived” of the evidence). Second, the defendant must

   demonstrate “bad faith on the part of the government.” Williams, 205 F.3d at 29. Third, the

   defendant “must demonstrate that the absence of fundamental fairness infected the trial; the

   acts complained of must be of such quality as necessarily prevents a fair trial.” Id. (quotation

   marks omitted).

          II.    Facts Relevant to Raniere’s Motion

                 On May 22, 2018 and again on June 4, 2018, Michele Hatchette was

   interviewed by the government pursuant to a proffer agreement. See Exhibit A (report of

   May 22, 2018 interview). 2 On both occasions, Hatchette was represented by Justin

   Greenblum, Esq.

                 As trial preparation began, the government received information that Nicole

   Clyne was in control of DOS-related materials, including collateral and other records, which


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                  The report and notes of interviews, as well as the proffer agreement, were
   disclosed to Raniere on April 6, 2019 as 3500-MH-1 to 3500-MH-5. Because Exhibit A
   contains victim names and descriptions of collateral and other sensitive topics, the
   government respectfully requests that it be filed under seal.

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   were in the possession of her attorney, Edward Sapone, Esq. Specifically, the government

   learned that after the existence of DOS became known within the Nxivm community, Clyne

   instructed DOS “slaves,” including Michele Hatchette and India, to transfer DOS-related

   digital materials, including collateral, to hard drives that Clyne provided. After the materials

   were saved to the hard drives, Clyne instructed the group of DOS “slaves” to delete the DOS

   materials from their own computers. Months later, Clyne told India that she had given the

   hard drives and other DOS-related materials to Clyne’s attorney.

                 As a result, on April 9, 2019, the government served Clyne, through counsel,

   with a grand jury subpoena seeking “any and all records in your possession, custody or

   control related to ‘DOS,’ ‘the Vow,’ or ‘the Sorority,’ including but not limited to (1) audio

   or video recordings of Keith Raniere and DOS ‘slaves’; (2) records identifying current or

   former members of DOS; (3) ‘collateral’ provided by any current or former member of

   DOS; and (4) electronic devices containing such records.” Exhibit B-001. 3 An

   accompanying letter advised Clyne that she was a target of the grand jury’s investigation.

   See Exhibit B-002. Later that day, Mr. Sapone acknowledged receipt of the subpoena and

   sent an email to the government “confirm[ing] that if called to testify” before the grand jury,

   Clyne would invoke her Fifth Amendment right against self-incrimination. Exhibit B-004.

                 At the request of counsel, later that day, the government provided Mr. Sapone

   with a letter granting Clyne act-of-production immunity with respect to the production of the

   requested materials. The letter advised that, among other things:

                 Nicole Clyne’s act of producing documents pursuant to the
                 subpoena will be not used against her by the Office in any

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                  By ex parte Order dated October 22, 2020, the Court authorized disclosure of
   grand jury information related to Nicole Clyne in connection with this motion.

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                 subsequent federal criminal proceeding, except that her act of
                 producing those documents could be used against her in a
                 prosecution for obstruction of justice if she intentionally takes
                 any criminal actions with respect to the production (including,
                 but not limited to, altering documents or intentionally
                 withholding documents).

   Exhibit B-006. In a letter dated April 10, 2019 and emailed to the government, Mr. Sapone

   stated:

                 I have explained to Ms. Clyne her Constitutional rights and
                 privileges as they relate to the subpoena. On the advice of
                 counsel, if Ms. Clyne were compelled to appear before the
                 grand jury to give testimony, she would respectfully assert her
                 5th Amendment privilege against compelled self-incrimination.

   Exhibit B-007. Nicole Clyne herself signed the letter, confirming its accuracy. Id. On April

   15, 2019, Mr. Sapone sent a letter to the government stating that Clyne was “asserting her act

   of production privilege with respect to the documents and other materials sought by the April

   9, 2019 grand jury subpoena” and requested that the government seek formal act-of-

   production immunity from the Court. Exhibit B-010. Mr. Sapone noted that he and Clyne

   were in the process of “collecting and logging documents and other materials responsive to

   the subpoena” and that Clyne may seek to raise “additional potential 5th Amendment

   arguments” in response to the subpoena. Id. Ultimately, the government did not seek an




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   order of statutory act-of-production immunity for Clyne and did not obtain the subpoenaed

   records. 4

           III.   Raniere’s Motion Should Be Denied As Untimely

                  As a preliminary matter, the contents of the affidavits submitted by Hatchette

   and Clyne do not constitute “newly discovered evidence” under Rule 33. As Raniere’s

   motion concedes, Raniere clearly knew, prior to trial, of Hatchette and Clyne’s involvement

   in DOS and the substance of Hatchette’s statements to the government. Def. Mem. at 5; see,

   e.g., Agnifilo Aff. ¶ 5, ECF Docket No. 197 (“I believe at least some . . . witnesses

   [interviewed by the government] have represented that the tenets of DOS—including

   collateral, acts of care and completion of assignments—was a choice they made on their own

   without any coercion, threats or manipulation.”). In addition, the government provided

   disclosures of statements of DOS members to Raniere under the Jencks Act, 18 U.S.C.

   § 3500, including statements made by Michele Hatchette, a month prior to the start of trial. 5

   Raniere was also made aware that a grand jury subpoena was served on Nicole Clyne in


           4
                  The cache of DOS materials, including collateral, in Clyne’s possession is the
   product of fraud and extortion, as was demonstrated at trial. The government has not
   “press[ed]” Mr. Sapone for these materials not because it used the subpoena to “instill” a
   “sense of fear” in Clyne, Def. Mem. at 7, but because the government did not seek or obtain
   permission to petition the Court for statutory act-of-production immunity. See 18 U.S.C.
   § 6003(b) (providing that a United States attorney, with the approval of the Attorney General,
   may seek a court order granting immunity when, in his judgment, “the testimony or other
   information from such individual may be necessary to the public interest”).
           5
                  Raniere’s claim that the government “NEVER provided ANY Brady material
   early enough for counsel to conduct any defense investigation,” Mem. at 5 (emphasis in
   original), is meritless. As an initial matter, as set forth below, Hatchette’s statements to the
   government were not exculpatory and did not constitute Brady. In any event, Hatchette’s
   statements were provided to Raniere a month before the start of a six-week trial, permitting
   ample time for Raniere’s counsel to seek to subpoena Hatchette as a defense witness or to
   seek an adjournment of trial.

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   April 2019 because on April 11, 2019, counsel for Raniere filed a letter opposing an

   adjournment of the trial date and alleged that the government was “improperly using this

   time . . . to gather trial evidence by use of Grand Jury subpoenas.” See ECF Docket Entry

   No. 523.

                 Because Raniere “knew or should have known” that Hatchette and Clyne

   “could offer material testimony as to [Raniere]’s role in the charged crime, [he] cannot claim

   that he ‘discovered’ that evidence only after trial.” Owen, 500 F.3d at 91; see also Forbes,

   790 F.3d at 408. Since Raniere cannot argue that he did not know that Hatchette or Clyne

   would have information about DOS, he claims instead that the witnesses “refused to come

   forward earlier” and that “[i]t is only now that these people are willing to come forward[.]”

   Def. Mem. at 7-8. But this is an argument that the alleged evidence is newly available, not

   newly discovered. The unavailability of evidence prior to or during trial based on the

   assertion of a valid legal privilege—here, the contemplated assertion of a Fifth Amendment

   privilege—is not grounds for a Rule 33 motion. See Forbes, 790 F.3d at 410–11 (“Where,

   as here, a defendant knew that a witness could offer testimony as to the defendant’s role in

   the charged crime, his inability to procure that testimony before or during trial because of the

   witness’s invocation of [her] Fifth Amendment privilege cannot be redressed by granting the

   defendant a new trial simply because the testimony later becomes available as a result of the

   mere passage of time.”).

                 The Court should reject Raniere’s attempt to circumvent the requirements of

   Rule 33. Forbes, 790 F.3d at 408 (observing that the Supreme Court has recognized that the

   “privilege” accorded to a defendant in permitting “more time in which to file a motion for a

   new trial based on newly discovered evidence” might “lend itself for use as a method of

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   delaying enforcement of just sentences”) (quoting United States v. Johnson, 327 U.S. 106,

   112 (1946)). The government’s timely objection to the filing of this Rule 33 motion, both in

   this submission and in its letter response to the defendant’s sentencing memorandum, see

   ECF Docket No. 929, “assure[s]” the government of the relief it seeks, that is, denial of the

   defendant’s Rule 33 motion. United States v. Abad, No. 01-CR-831 (GBD), 2005 WL

   3358480, at *1 (S.D.N.Y. Dec. 7, 2005) (“Where the government properly objects to an

   untimely Rule 33 motion, it is assured of relief. Because the government did so object in this

   case, the motion must be dismissed.”) (internal citations and quotation marks

   omitted), aff’d, 514 F.3d 271 (2d Cir. 2008); see also United States v. Casiano, No. 05-CR-

   195 (MRK), 2008 WL 1766576, at *1 (D. Conn. Apr. 11, 2008) (“[W]hile the Government

   may waive a timeliness objection by failing to raise the issue, the Court is obligated to grant

   relief to the Government provided it properly raises such an objection.”). The contents of the

   affidavits submitted by Hatchette and Clyne are not “newly discovered evidence,” and

   Raniere’s Rule 33 motion should be denied as untimely.

          IV.    Raniere’s Motion Does Not Provide a Basis for a New Trial

                 Applying the standard set forth by the Second Circuit in Williams, Raniere

   falls well short of establishing any one of the three requirements necessary to establish the

   government violated his right to present a defense. Raniere has failed to show that he was

   deprived of material, exculpatory evidence. He has also failed to demonstrate that the

   government acted in bad faith. Lastly, Raniere has failed to show that his trial was

   fundamentally unfair.




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                 i.   Raniere Has Failed to Demonstrate That He Unsuccessfully Sought the
                      Testimony of Michele Hatchette or Nicole Clyne

                   Raniere has failed to allege that he sought the testimony of either Michele

    Hatchette or Nicole Clyne as defense witnesses. Nowhere in Raniere’s motion does he claim

    that counsel for Raniere ever attempted to subpoena either Hatchette or Clyne to testify as

    witnesses for the defendant. Nor is there any suggestion that counsel for Raniere ever

    communicated any request to Hatchette or Clyne to testify as a defense witness. The

    affidavits submitted by Michele Hatchette and Nicole Clyne are silent as to whether they

    ever received a request by counsel for Raniere to testify on his behalf at trial. This

    deficiency alone is grounds to deny Raniere’s motion. Cf. Hatchette Aff. ¶ 43 (“I decided I

    was unwilling to testify [and a]s a result, the defendant . . . was deprived of my material,

    exculpatory witness testimony”); Clyne Aff. ¶ 5 (“At this point, although I desired to testify,

    due to what I perceived as a retaliatory threat, coupled with their Grand Jury subpoena, my

    lawyer advised me not to testify and I complied.”).

                   Courts have denied motions predicated on claims that the government “denied

    [the defendant] a fair trial by harassing and intimidating several potential witnesses for his

    defense” where the defendant failed to produce any evidence that he unsuccessfully sought

    the witness’s testimony at trial. Harris v. United States, 9 F. Supp. 2d 246, 277-78 (S.D.N.Y.

    1998), aff’d, 216 F.3d 1072 (2d Cir. 2000). In Harris, the district court denied the

    defendant’s motion for a new trial where the defendant claimed that the government

    prevented potential defense witnesses from testifying at his trial after the witnesses testified

    in a subsequent civil deposition that they felt intimidated and harassed by law enforcement

    agents. Id. The court explained that the defendant “failed to allege governmental behavior



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    that amounts to a denial of rights” because counsel for the defendant “never attempted to

    subpoena [the witness] to testify; counsel for [the defendant] did not call any witnesses at

    all.” Id. The court further noted that another potential defense witness “was in contact” with

    the defendant and “there was no reason to think that her failure to testify on [the defendant’s]

    behalf was due to government intimidation rather than a decision by counsel for [the

    defendant] that she would not be a useful witness.” Id.

                   Here, as in Harris, there is every reason to believe that counsel for Raniere was

    in contact with counsel for Hatchette and Clyne. Counsel for Raniere was apparently aware

    of Clyne’s receipt of a grand jury subpoena days after it was served. In addition, the legal

    fees of both Mr. Greenblum and Mr. Sapone were paid by an irrevocable trust to which co-

    defendant Clare Bronfman was the primary contributor.

                   The government strongly disputes the factual assertions set forth in the

    Hatchette and Clyne affidavits. 6 But even assuming, arguendo, their truth—that a prosecutor

    “advised Mr. Greenblum to encourage [Hatchette] to meet with [the government] prior to

    taking the stand [as a government witness] or else they would be likely to charge [her] with

    perjury,” Hatchette Aff. ¶ 40, Hatchette was represented by able counsel. Even assuming

    such a statement had been conveyed to him, Mr. Greenblum would have been obligated to

    advise Hatchette that she could not be convicted of perjury if she testified truthfully at trial.

    In any event, counsel for Raniere made no attempt to subpoena Hatchette or to compel her

    testimony.



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                    While the government disputes the allegations in the Hatchette and Clyne
    Affidavits, it does not address those disputes here because, as set forth herein, resolution of
    these factual disputes is not necessary for the Court to deny the defendant’s Rule 33 motion.

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                    The far more likely reason Michele Hatchette did not testify on Raniere’s

    behalf was a decision by counsel for Raniere that Hatchette would not be a useful witness at

    trial. As reflected in the notes of the interview with Hatchette provided to Raniere’s counsel

    before trial, Hatchette confirmed many of the details about DOS proved at trial, including

    that (1) Raniere’s participation in DOS was initially concealed from DOS “slaves,” including

    Hatchette; (2) Hatchette, like other DOS “slaves,” provided sexually explicit photographs

    and letters accusing family members of abuse as collateral to her DOS master, Allison Mack;

    (3) Hatchette was assigned to “seduce” Raniere; (4) DOS “slaves,” including her, were

    required to participate in “readiness drills” and required to adhere to strict calorie-restricted

    diets; and (5) DOS “slaves” were branded. Exhibit A-003-Exhibit A-013.

                    For instance, Hatchette provided the following statements to law enforcement,

    among others:

       • For her first collateral, Hatchette provided Mack with naked photographs and
         several letters about family members. Hatchette stated the letters contained
         accusations of abuse. Specifically, Hatchette alleged her brother and sister
         both abused their children. The letters were addressed to local police
         departments. . . . Hatchette described the experience of writing and releasing
         the letters to Mack as intense. Still, Hatchette believed the experience was
         good because she knew the letters ensured that she would never disclose
         information related to DOS.

       • Hatchette stated that she was uncomfortable, and, at times, afraid to ask Mack
         about the location and status of her collateral. Hatchette explained the
         relationship between Hatchette and Mack was of complete servitude.
         Hatchette stated there was a certain level of respect that she was expected to
         maintain with her Master. Hatchette stated personal questions and certain
         questions about DOS were off limits when she conversed with Mack.

       • At the time Hatchette was given the assignment to seduce Raniere, Hatchette
         really wanted to please Mack. While Hatchette did not consider the possibility
         of her collateral being released if she failed to complete the assignment,
         Hatchette did believe the vow of servitude to Mack required her to undertake


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           the assignments given by Mack. Hatchette stated this vow was almost
           absolute.

       • Hatchette stated collateral served the purpose of solidifying her commitment
         of servitude to Mack and participation in DOS. Hatchette was obedient to
         Mack because of this commitment. Hatchette stated there were times when
         she wanted to leave DOS. These feelings were prominent during the
         beginning of Hatchette’s involvement in DOS, particularly when Hatchette
         received the assignment to seduce Raniere. Hatchette stated without the
         existence of collateral, Hatchette would have left DOS.

       • Hatchette was not aware of other members of DOS having sexual relations
         with Raniere or being given the assignment to seduce Raniere. Still, Hatchette
         occasionally wondered if other women from her DOS circle were sexually
         involved with Raniere. Hatchette stated Mack prohibited her Slaves from
         speaking about their relationships with Raniere.

    Exhibit A-003-Exhibit A-013. Notwithstanding Hatchette’s claim that she would have

    characterized these experiences as ones that “helped [her] strengthen [her] character, expand

    [her] awareness of how [her] decisions impacted others and be[come] more disciplined,”

    Hatchette Aff. ¶ 3, it was an eminently reasonable strategic decision by counsel for Raniere

    not to subpoena Hatchette as a defense witness, as the jury would likely have considered her

    testimony inculpatory as to Raniere.

                  As for Nicole Clyne, the communications appended as Exhibit B reflect that

    Clyne would have invoked her Fifth Amendment right against self-incrimination in

    connection with any anticipated testimony concerning her involvement in DOS. Not, as

    Clyne suggests, because she was “frightened” by an alleged statement made to her attorney

    by the prosecutor, Clyne Aff. ¶ 12, but because she was Raniere’s co-conspirator, a first-line

    DOS “slave” under Raniere, and a target of the government’s investigation. As the Second

    Circuit has observed, “when a witness ‘invokes [her] privilege against self-incrimination and

    refuses to testify, the defendant is denied the benefit of any potentially exculpatory testimony


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    the [witness] might have provided. This is one consequence of the Fifth Amendment

    privilege.’” Forbes, 790 F.3d at 410 (quoting Owen, 500 F.3d at 91)). Raniere made no

    attempt to subpoena Clyne as a defense witness or to compel her testimony, but, even if he

    had unsuccessfully sought her testimony due to her invocation of the Fifth Amendment,

    Raniere’s “inability to procure [her] testimony before or during trial because of the witness’s

    invocation of [the] Fifth Amendment privilege cannot be redressed by granting the defendant

    a new trial simply because the testimony later becomes available as a result of the mere

    passage of time.” Forbes, 790 F.3d at 410-11.

                ii.   The Proffered Testimony Is Neither Material Nor Exculpatory

                  Raniere has also failed to demonstrate that he was deprived of material,

    exculpatory evidence that could not be reasonably obtained by other means. Raniere argues

    that the testimony of Hatchette and Clyne would have supported the defense theory that DOS

    had a “notable and worthy purpose” and that they “never witnessed ‘any crimes such as sex

    trafficking.’” Def. Mem. at 11. The testimony proffered by Hatchette and Clyne is neither

    material nor exculpatory.

                  Hatchette claims that her “experiences of Ms. Mack’s mentorship and my time

    within DOS would have offered an important perspective in the jury’s understanding of the

    positive nature of the group which I received.” Hatchette Aff. ¶ 4. She states, for instance,

    that although “Nicole testified that the process of submitting and offering collateral was

    problematic for her,” Hatchette “would have testified that my experience of gathering and

    submitting collateral was not problematic for me as it was explained to me that the collateral

    was simply a way to demonstrate my commitment to keep the confidentiality of the group

    private while also affirming my voluntary membership into the group.” Id. ¶ 7. Hatchette

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    similarly contends that she would have testified that DOS provided her with an “opportunity

    to build deep, meaningful friendships with other women,” id. ¶ 12; that she did not perceive

    that Mack “did anything to compromise” her wellbeing, id. ¶ 18; and that she was not

    directed to “have sex with” Raniere “as a requirement of [her] membership in DOS,” id.

    ¶ 20.

                   Hatchette’s proffered testimony is not exculpatory, nor is it material to the

    charged offenses against Raniere. Evidence that Hatchette did not find the requirements of

    DOS to be “problematic for [her]” or that she did not perceive an assignment to “seduce”

    Raniere to be a “requirement” of her membership in DOS has no bearing whatsoever as to

    Raniere’s actions as to the DOS “slaves” who were the victims of the charged offenses. See,

    e.g., United States v. Scarpa, 897 F.2d 63, 70 (2d Cir. 1990) (“A defendant may not seek to

    establish his innocence . . . through proof of the absence of criminal acts on specific

    occasions.”); see also United States v. Williams, 205 F.3d 23, 34 (2d Cir. 2000) (evidence

    that the defendant did not engage in drug activity during particular trips to Jamaica not

    relevant to whether defendant engaged in drug activity on other trips to Jamaica). That

    Hatchette did not feel compelled to engage in sexual activity with Raniere and believed her

    experiences in DOS to be “very positive,” Hatchette Aff. ¶ 34, is neither material nor

    exculpatory.

                   Clyne claims that she would have testified, at trial, that “women chose to

    participate in DOS voluntarily and benefitted greatly from its practices” and that she would

    have “provided [her] own personal experience” of certain events, including a “vastly

    different perspective on DOS and the complex and nuanced relationships that were the focus

    of Mr. Raniere’s trial.” Clyne Aff. ¶¶ 6, 8, 11. Clyne’s proffered testimony does not come

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    close to constituting material or exculpatory evidence as to the charged offenses. Had Clyne

    testified at trial, she would have had to acknowledge that she was a “first-line” DOS

    “master” who lied about Raniere’s involvement in DOS in order to recruit women as her

    “slaves.” Clyne’s characterization of these actions as being in furtherance of DOS’s “notable

    and worthy purpose,” Clyne Aff. ¶ 6, is irrelevant and does not negate Raniere’s guilt as to

    the offenses of conviction.

               iii.      Raniere Has Failed to Show the Government Acted in Bad Faith

                  Raniere has also failed to demonstrate the government acted in bad faith,

    since, even assuming the truth of the allegations in Hatchette and Clyne’s affidavits, neither

    Hatchette nor Clyne claims to have first-hand knowledge of any alleged “threat”

    communicated to counsel for Hatchette and Clyne. Hatchette claims that in a conversation

    between a prosecutor and her attorney Mr. Greenblum, the prosecutor told her attorney to

    “encourage” Hatchette to meet with the government prior to testifying as a government

    witness or the government would “be likely to charge [her] with perjury.” Hatchette

    Affidavit at ¶ 40. Similarly, Clyne claims that in a conversation between prosecutors and her

    attorney Mr. Sapone, the prosecutor allegedly told Mr. Sapone that the government was

    “coming for” Clyne and that this is “not going away for her.” Clyne Affidavit at ¶ 5.

                      Tellingly, neither Mr. Greenblum nor Mr. Sapone have submitted affidavits in

    connection with Raniere’s motion, even though they were the intermediaries of the purported

    threats from the government. But even if Mr. Greenblum and Mr. Sapone had submitted

    sworn affidavits that prosecutors in fact made such statements to them, Raniere would still

    have failed to show that there was violation of his due process rights. Raniere’s claim that

    the government threatened Mr. Greenblum that if Hatchette “did not return to the U.S.

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    Attorney’s office for a third interview,” the government “would indict her with perjury out of

    retaliation,” Def. Mem. at 9, is nonsensical. As Mr. Greenblum would no doubt have

    advised Hatchette if such a threat had in fact been issued, the government cannot “indict” an

    individual “with perjury out of retaliation.” To the extent Mr. Greenblum understood the

    government to be attempting to convey a warning to Hatchette of the consequences of

    committing perjury, courts have held that a due process violation does not arise. See

    Williams, 205 F.3d at 29. This is so even if the government’s warning about the risks of

    perjury is “carried out in a caustic manner[.]” Id.; see also United States v. Polanco, 510 F.

    App’x 10, 12 (2d Cir. 2013) (summary order) (finding the government’s engagement with a

    witness did not “amount to bad faith” where prosecutor warned defense witness of

    consequences of perjury and witness had opportunity to consult with counsel).

                iv.      Raniere Cannot Show that His Trial Was Unfair

                      Lastly, even if Raniere were able to demonstrate that he was denied the right

    to present the testimony of Hatchette or Clyne (which he cannot), he has failed to establish

    that it denied him a fair trial. Williams, 205 F.3d at 29. The evidence of Raniere’s guilt as to

    the sex trafficking, forced labor, and extortion related to DOS—which included the

    testimony of three victim-witnesses who were DOS “slaves,” a first-line DOS “master,” and

    corroborating records, emails and recordings—was overwhelming, and there is no reason to

    believe that the testimony of Hatchette or Clyne would have affected the verdict. At trial,

    Raniere’s counsel cross-examined each of these witnesses at length about their involvement

    in DOS. The jury’s verdict was not “founded on a partial or speculative presentation of the

    facts,” Williams, 205 F.3d at 31, and there is no basis for concluding that the testimony of




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    Hatchette or Clyne regarding their “positive” experience in DOS would have affected the

    judgment of the jury.

                                            CONCLUSION

                    For the reasons set forth above, the government respectfully submits that the

    Court should deny Raniere’s motion for a new trial pursuant to Federal Rule of Criminal

    Procedure 33.

    Dated:      Brooklyn, New York
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                                                        Respectfully submitted,

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